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AO 91 (Rev. 11/11) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                           District of Oregon

                  United States of America                           )
                                v.                                   )
                                                                     )      Case No.
                     Christian Chaidez,                              )                         '17-MJ-71 '"
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of           November 2016 to February 2017         in the county of               Marion             in the
                       District of            Oregon            , the defendant(s) violated:

             Code Section                                                       Offense Description
21 U.S.C. §§ 841 (a)(1) and 846                 Possession with Intent to Distribute Methamphetamine and Heroin;
                                                Conspiracy




          This criminal complaint is based on these facts:

See attached Affidavit of DEA Special Agent Adam Otte




          -if Continued on the attached sheet.


                                                                                               Complainant's signature

                                                                                         Adam Otte, Special Agent, DEA
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


Date:


City and state:                         Portland, Oregon                               John Jelderks, U.S. Magistrate Judge
                                                                                                Printed name and title
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DISTRICT OF OREGON                 )
                                   ) ss.   AFFIDAVIT OF ADAM OTTE
COUNTY OF MULTNOMAH                )

                         Affidavit in Support of a Criminal Complaint

I, Adam Otte, being first duly sworn, hereby depose and state as follows:

                             Introduction and Agent Background

       1.      I am an "investigative or law enforcement officer of the United States" within the

meaning of Title 18, United States Code, Section 2510(7). I am currently employed as a Special

Agent with the Drug Enforcement Administration (DEA), United States Department of Justice,

and have been so employed since 2004. In that capacity, I investigate violations of the

Controlled Substances Act, Title 21, United States Code, Section 801, et. seq. Until September

2012, I was assigned to the Seattle Field Division. In September 2012, I was assigned to the

Salem, Oregon Resident Office. I have completed sixteen (16) weeks of DEA Basic Agent

training at the Justice Training Center and FBI Academy in Quantico, Virginia. I am familiar

with investigations of drug trafficking organizations, methods of importation and distribution of

controlled substances, and financial investigations. I have been a case agent on multiple

investigations involving organizations trafficking several controlled substances to include

marijuana, cocaine, heroin, methamphetamine and MDMA. I have been the lead case agent or a

co-case agent on six previous wiretap investigations. In each of these investigations, I have

participated in directing the course of the investigation. These investigations have resulted in the

seizure of controlled substances as well as millions of dollars of United States currency and the

federal prosecution of more than 100 defendants.




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                                       Purpose of Affidavit

        2.      This affidavit is submitted to support a criminal complaint and arrest warrant for

Christian Jensel Chaidez, Hispanic male, date of birth xx/xx/1985 (hereinafter "CHAIDEZ") for

distribution of methamphetamine and heroin in violation of Title 21 United States Code, Section

841(a)(l) and conspiracy in violation of Title 21, United States Code, Section 846.

        3.      I have obtained the facts set forth in this affidavit through my personal

participation in the investigation described below; from my review of recorded calls and

meetings; from oral and written reports of other law enforcement officers; and, from records,

documents and other evidence obtained during this investigation. I have obtained and read

official reports prepared by law enforcement officers participating in this investigation and in

other related investigations.

        4.      In May 2016, CS-3 reported to TFO Zuniga thats/he could purchase

methamphetamine from a subject known as "Christian." Based on the information provided by

CS-3, TFO Zuniga identified CHAIDEZ as the subject to whom CS-3 was likely referring. TFO

Zuniga later showed CS-3 the Oregon Department of Motor Vehicles (DMV) photograph of

CHAIDEZ to CS-3 who immediately recognized the photograph as depicting the subject CS-3

knows as Christian.

        5.      This affidavit will describe details related to the controlled purchases of

methamphetamine from CHAIDEZ using a DEA confidential source referred to as CS-3. 1 • For


    1
      CS-3 was arrested by Salem DEA within the past few years for trafficking
methamphetamine. CS-3 agreed to cooperate with officers following his/her arrest and provided
information to law enforcement in hopes of receiving possible consideration for his/her pending
criminal charges. Over the past two years, CS-3 has provided information related to drug
traffickers in the Salem, Oregon, area. Based on results from the CS-3's information and
independent investigations, I believe CS-3 has provided credible and reliable information
regarding drug trafficking organizations. CS-3 has a criminal record that includes arrests for the
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all of the controlled purchases described herein, officers searched CS-3 and his/her vehicle both

prior to and after meeting with CHAIDEZ. Officers confirmed that CS-3 was not in possession

of any drugs, weapons or significant sums of currency, other than currency provided by officers

to make the drug purchases. Officers outfitted CS-3 with audio transmitting and recording

devices. Officers maintained surveillance on CS-3 after the pre-buy search and followed CS-3 to

the meet location. There were, times while CS-3 was in the parking lot at Platinum Styles, a

barber shop operated by CHAIDEZ located on Silverton Road NE in Salem, and when CS-3 was

inside Platinum Styles, where officers were unable to maintain surveillance on CS-3.

       6.      During the investigation, officers also provided CS-3 with a phone to use to

contact CHAIDEZ. DEA subscribes to a service that allows officers to record all calls made to

and received by this phone. This service also records the phone numbers in contact with the

phone given to CS-3 and as such, officers have confirmed the phone numbers used by CHAIDEZ

as described below. CS-3 agreed to the consensual recording of these phone calls.

       November 2016-Purchase ofMethamphetamine

       7.      On November 12, 2016, officers directed CS-3 to attempt to contact CHAIDEZ to

discuss the possibility of a future purchase of methamphetamine. CS-3 called CHAIDEZ, who

used telephone 503-602-3294 (referred to herein as "Chaidez Phone 1"), as directed by officers.

Task Force Officer (TFO) Zuniga, a native Spanish speaker, has listened to the call and provided

me with his interpretation. During the call, CS-3 told CHAIDEZ thats/he spoke to CS-3's

friend. CHAIDEZ interrupted CS-3 and asked him/her to come to the shop to speak in person.



following: No Liability Insurance, Fail to Carry and Present License - Giving False Information
-Miss Use of Identification Card-DUH, Disorderly Conduct, Delivery of Cocaine, and Delivery
of Methamphetamine (charge is pending). CS-3's record includes convictions for the following:
DUII, Resisting Arrest, and Alien Inadmissibility.
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Later that day, CS-3 reported to TFO Zuniga that s/he met CHAIDEZ at the Platinum Styles

barber shop, a business operated by CHAIDEZ. CS-3 reported thats/he told CHAIDEZ that CS-

3 had a customer who wanted one half pound of methamphetamine and CHAIDEZ quoted CS-3

a price of $2,500.

         8.      On November 14, 2016, CS-3 called CHAIDEZ as directed by officers. The call

went unanswered. However, CHAIDEZ used Chaidez Phone 1 to return CS-3's call later.

During this call, as interpreted by TFO Zuniga, CHAIDEZ told CS-3 that he had not called

sooner because his guy with the "window" had not answered. CHAIDEZ informed CS-3 that he

had talked to him (the supplier) and that he had "half of a house." CS-3 told CHAIDEZ thats/he

would call CHAIDEZ back to confirm the deal. During this call, I believe CHAIDEZ used the

term "window" and phrase "half of a house" to refer to Yz pound of methamphetamine. I know

from my training and experience that "window" is a common term used to refer to

methamphetamine, likely due to methamphetamine's appearance, which can resemble broken

glass.

         9.      On November 16, 2016, officers began receiving court-authorized geolocation

data for Chaidez Phone 1 for a 30-day period. On November 17, 2016 at 12:56 p.m., as directed

by officers, CS-3 called CHAIDEZ at Chaidez Phone 1 to arrange a purchase Yz pound of

methamphetamine. During the call, as interpreted by TFO Zuniga, CHAIDEZ explained that his

source had Yz pound or full pound quantities available for CS-3. CS-3 explained thats/he would

check with his/her customer and call CHAIDEZ back. Minutes later, CS-3 called CHAIDEZ at

Chaidez Phone 1 and explained that CS-3's customer only brought enough money for Yz pound.

The two agreed to meet at CHAIDEZ's shop.



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       10.     Officers had previously established surveillance at CHAIDEZ's shop, the

Platinum Styles barber shop. Court-authorized geolocation data showed that Chaidez Phone 1

was at/near this location. At 1: 12 p.m., TFO Camey observed a black Scion sedan exit the

parking lot and travel southbound. Minutes later, TFO Zuniga observed a black Scion sedan and

recognized the driver as CHAIDEZ. Officers lost contact with the Scion. During this time,

officers followed CS-3 to CHAIDEZ's barber shop where CS-3 went inside, spoke to a female

briefly then waited in his/her vehicle. While CS-3 was in the shop, officers were unable to

maintain surveillance on him/her. Officers were able to maintain surveillance on CS-3's vehicle

during most of the operation, depending on the flow of traffic.

       11.     At 1:48 p.m., TFO Camey observed the black Scion arrive at the barber shop.

TFO Camey observed the male driver and sole occupant (believed to be and hereinafter referred

to as CHAIDEZ) then retrieve an item from the trunk of the Scion and walk over to CS-3 's

vehicle. Via the audio transmitter, TFO Zuniga then heard a male greet CS-3. TFO Zuniga

recognized the voice of the male to be the same as the voice of the user of Chaidez Phone 1, i.e.,

CHAIDEZ. TFO Zuniga heard CS-3 and CHAIDEZ have a conversation about their transaction.

At 1:50 p.m., CHAIDEZ exited CS-3's vehicle and entered the barber shop.

       12.     Officers then followed CS-3 to a separate location where CS-3 turned over

approximately Yz pound of suspected methamphetamine.2 • CS-3 reported that CHAIDEZ entered

the passenger side ofCS-3's vehicle and gave CS-3 a cardboard box (which contained the

methamphetamine) in exchange for the money that officers had provided CS-3. CS-3 reported

that CHAIDEZ told him/her that CHAIDEZ's supplier was willing to look for better quality



   2
     Officers performed a field test which provided a presumptive positive result for the
presence of methamphetamine.
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methamphetamine if CS-3 did not like the methamphetamine. TFO Zuniga noted that CS-3's

description of events was consistent with the conversation he heard via the audio transmitter.

       December 2016-Purchase ofMethamphetamine

       13.     On December 9, 2016, officers directed CS-3 to contact CHAIDEZ to attempt to

arrange the purchase of Yz pound of methamphetamine. At 2:44 p.m., CS-3 called CHAIDEZ at

Chaidez Phone 1. During this call, as interpreted by TFO Zuniga, CS-3 explained that his/her

friend wanted the same thing (referring to Yz pound of methamphetamine). CHAIDEZ asked if

CS-3 wanted "only a half." CS-3 agreed. CHAIDEZ explained that he would order the

"window" and asked what time CS-3 wanted it. CS-3 told CHAIDEZ to let him/her know when

to arrive. The two agreed to speak later. CS-3 and CHAIDEZ exchanged additional phone calls

and agreed to meet at Platinum Styles.

       14.     Officers later followed CS-3 to Platinum Styles, arriving at 4:19 p.m. Upon

arriving, CS-3 called CHAIDEZ at Chaidez Phone 1 and asked if CHAIDEZ would come out.

CHAIDEZ asked CS-3 to come inside. CS-3 then entered the business and TFO Zuniga listened

to CS-3 via the audio transmitter. At 4:22 p.m., TFO Zuniga called CS-3 and confirmed that

CHAIDEZ was inside. At 4:24 p.m., TFO Zuniga heard via the transmitter what sounded like

the door to the business opening followed by the sounds of heels or hard-souled shoes walking

through the business. Approximately 30 seconds later, CS-3 met briefly with CHAIDEZ who

instructed CS-3 to wait outside. CS-3 returned to his/her vehicle. Approximately 30 seconds

later, a male could be heard getting into CS-3's vehicle. CS-3 asked the male ifhe had the

"stuff' and then said "it looks beautiful." CS-3 asked the male if it was a "half." The male

responded that he did not know. CS-3 then told the male to "count the money" and to "make

sure it's twenty-five hundred." TFO Zuniga then heard the sound of paper shuffling (believed to

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be the sound of the male counting the money). The male told CS-3 his name was "Brian." The

two separated and officers followed CS-3 to a separate location where CS-3 turned over

approximately Yz pound of methamphetamine.

       15.     CS-3 reported to officers that upon arriving at the shop, CHAIDEZ asked CS-3 to

come inside. CS-3 reported that after waiting in the lobby while CHAIDEZ was cutting hair, a

female whom CS-3 had previously identified as Catherine Villalta entered the shop. Moments

later, CHAIDEZ instructed CS-3 to wait outside. CS-3 reported thats/he observed Villalta meet

with "Brian" behind a wall in the business. CS-3 then returned to his/her vehicle and waited

until "Brian" arrived and gave CS-3 the methamphetamine in exchange for the money.

       February 2017 - Purchase of Heroin

       16.     On December 28, 2016, as directed by officers, CS-3 placed two calls to Chaidez

Phone 1, both of which went unanswered. Approximately 30 minutes later, at 1:21 p.m., CS-3

received a call from 503-856-4124, referred to as "Chaidez Phone 2." CS-3, and TFO Zuniga

who listened to the call, recognized CHAIDEZ's voice.

       17.     On February 21, 2017 at 12:27 p.m., CS-3 called CHAIDEZ at Chaidez Phone 2

as directed by officers. During the call CS-3 explained that his/her friend had called and wanted

to know if it was "possible to get a sample of chocolates, uh tomorrow evening he said."

CHAIDEZ asked, "How many pieces?" CS-3 explained that s/he did not know but would let

CHAIDEZ know. During this call CS-3 used "chocolates" to refer to heroin. At 12:54 p.m., CS-

3 received a call from CHAIDEZ and CS-3 explained that his/her friend wanted "two" (two

pieces of heroin) the following afternoon.




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       18.     Due to unforeseen factors, officers were unable to conduct the controlled purchase

operation on February 22, 2017 as originally planned. CS-3 called CHAIDEZ on Chaidez Phone

2 that night and the two agreed to talk the following day.

       19.     On February 23, 2017 at 2:13 p.m., CS-3 received a call from Chaidez Phone 2.

During this call CS-3 said, "Hey, now this time is a yes for tomorrow. My friend called me

already, he says tomorrow is a yes, it can be done tomorrow." CHAIDEZ confirmed and said,

"Okay then, done deal then." Later CS-3 said, "Yes, with the same, with two pieces of chocolate

like we agreed." CHAIDEZ replied, "Okay, that's fine."

       20.     On February 24, 2017, officers established surveillance at Platinum Styles,

CHAIDEZ's barber shop. CS-3 exchanged a couple phone calls with CHAIDEZ to arrange to

meet at the shop. Shortly after 1:00 p.m., officers followed CS-3 to Platinum Styles. Upon

arriving, CS-3 went inside the shop. TFOs Zuniga and Salas, both native Spanish speakers,

listened to conversations in CS-3 's vicinity via the audio transmitter during the operation. CS-3

remained at the barber shop for several hours, but did not remain inside the entire time.

       21.     At 4:31 p.m., Sgt. Garrett observed a dark colored Nissan sedan arrive at Platinum

Styles. Shortly thereafter, CS-3 (who was inside the shop at the time) reported to TFO Zuniga

that the female supplier had arrived in a black Nissan bearing Oregon license plate 147JTE (i.e.,

the "Altima"). CS-3 then reported to officers that the female had only brought one piece of

heroin rather than two. CS-3 reported that the female would leave to get the other piece.

       22.     At 4:35 p.m., Sgt. Garrett observed the Altima depart. Officers lost contact with

the vehicle briefly before reacquiring surveillance. SA Wolters observed that the Altima was

occupied only by a female driver. Officers followed the Altima into Woodburn, Oregon and

then lost contact.

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       23.    At 5:29 p.m., Sgt. Garrett observed the Altima travel west on Silverton Road back

to the barber shop. TFO Zuniga and TFO Salas observed the Altima pull into the parking lot out

of view. Moments later, TFO Zuniga and TFO Salas observed CHAIDEZ exit the barber shop,

walk out of view, then walk toward CS-3's vehicle holding an item in his hand. CS-3 was sitting

in his/her vehicle at this time. Officers then observed CHAIDEZ and CS-3 walk back to the

barber shop. Two minutes later, officers observed CS-3 exit the barber shop carrying an item in

his/her hand similar in ~perance to what CHAIDEZ had previously been carrying.

       24.    Officers then followed CS-3 to a separate location where CS-3 turned over

approximately two pieces of heroin (a piece is approximately 25 grams, a common measurement

in heroin distribution). CS-3 reported that s/he obtained the heroin from CHAIDEZ in exchange

for the DEA funds officers had previously given to CS-3.




                                            ADAMW.OTTE
                                            Special Agent, Drug Enforcement Administration

                                                 f
       Sworn to and subscribed before me this ') day of June, 2017.



                                            HON~O~
                                            UNITED STATES MAGISTRATE JUDGE




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